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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


STATE OF NEW JERSEY,

             Plaintiff,

                v.

UNITED STATES DEPARTMENT                   OF
TRANSPORTATION, et al.,                                 Before: Leo M. Gordon, Judge

             Defendants,                                Court No. 2:23-cv-03885

                and

METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,

             Defendant-Intervenors.


                                           ORDER

       Upon consideration of all filings, orders, and proceedings had in this action, it is

hereby

       ORDERED that all further requests for relief from the court that require an order

shall be made by motion in conformity with the Federal Rules of Civil Procedure and the

Local Civil Rules of the District Court for the District of New Jersey; it is further

       ORDERED that no party shall file a request for relief or argument via letter or email,

except for a request for a teleconference or videoconference for scheduling purposes; it

is further

       ORDERED that in filing a request for relief, the moving party shall state whether it

consulted with all the other parties and obtained the consent of these parties for the relief

sought; and it is further
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       ORDERED that in the event of a conflict between this Order and the Federal Rules

of Civil Procedure and/or the Local Civil Rules of the District Court for the District of New

Jersey, this Order shall govern.




                                      /s/ Leo M. Gordon
                                      Leo M. Gordon, Judge
                                      U.S. Court of International Trade
                                      (sitting by designation in the District of New Jersey)



Dated: February 4, 2025
       Newark, New Jersey
